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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-0003-JAM
12                                Plaintiff,            STIPULATION AND ORDER TO CONTINUE
                                                        STATUS CONFERENCE
13                          v.
                                                        Date:      May 21, 2019
14   LUIS ALBERTO VALERIO MARTINEZ,                     Time:      9:15 a.m.
     aka Luis Albertyo Valerio, and                     Judge:     Hon. John A. Mendez
15   JOSE ARNULFO ALCALA-GARCIA,
     aka Jose Arnulfo Alcala,
16
                                 Defendants.
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19          Plaintiff United States of America, through its undersigned counsel, and defendants Luis Alberto

20 Valerio Martinez and Jose Arnulfo Alcala-Garcia, through their respective counsel of record, stipulate

21 that the status conference currently set for May 21, 2019, be continued to August 6, 2019, at 9:15 a.m.

22          On January 3, 2019, both defendants were arraigned on the five-count Indictment. (ECF Nos. 18,

23 21.) Since that time, the United States has produced to both defense counsel discovery that includes 77

24 pages of reports and memoranda, over 200 photos, and various audio, video, and multimedia files from

25 throughout this investigation. Both defense counsel require additional time to review these materials,

26 time to confer with their clients, time to conduct further research and investigation about the charged

27 offenses, and time to otherwise prepare for trial. In addition, defense counsel require additional time to

28 review the potential implications of the recently-enacted First Step Act and to discuss the matter with

      STIPULATION AND (PROPOSED) ORDER                   1
      TO CONTINUE STATUS CONFERENCE
              Case 2:19-cr-00003-TLN Document 53 Filed 05/20/19 Page 2 of 3


 1 their clients.

 2          Based on the foregoing, the parties stipulate that the status conference currently set for May 21,

 3 2019, be continued to August 6, 2019, at 9:15 a.m. The parties further agree that time under the Speedy

 4 Trial Act should be excluded from the date this order issues to and including August 6, 2019, under 18

 5 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code T4,

 6 based on continuity of counsel and defense preparation.

 7          Counsel and the defendants also agree that the ends of justice served by the Court granting the

 8 requested continuance outweigh the best interests of the public and the defendants in a speedy trial.

 9                                                        Respectfully submitted,

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11 Dated: May 17, 2019                                    _/s/ Timothy H. Delgado_____________
                                                          TIMOTHY H. DELGADO
12                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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     Dated: May 17, 2019                                  _/s/ THD for Mia T. Crager__________
15                                                        MIA T. CRAGER
                                                          Assistant Federal Defender
16                                                        Attorney for Defendant Luis Valerio Martinez
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18 Dated: May 17, 2019                                    _/s/ THD for Michael D. Long________
                                                          MICHAEL D. LONG
19                                                        Attorney for Defendant Jose Alcala-Garcia
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      STIPULATION AND (PROPOSED) ORDER                   2
      TO CONTINUE STATUS CONFERENCE
               Case 2:19-cr-00003-TLN Document 53 Filed 05/20/19 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice

 6 are served by granting the requested continuance and outweigh the best interests of the public and the

 7 Defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, to and including August 6,

 9 2019, shall be excluded from computation of time within which the trial in this case must be commenced

10 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for

11 counsel to prepare] and General Order 479 (Local Code T4). It is further ordered that the May 21, 2019

12 status conference be continued until August 6, 2019, at 9:15 a.m.

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14 Dated: May 17, 2019                                     /s/ John A. Mendez______________
                                                           Hon. John A. Mendez
15                                                         United States District Court Judge
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      STIPULATION AND (PROPOSED) ORDER                     3
      TO CONTINUE STATUS CONFERENCE
